Case 5:20-cv-00666-AFM Document 36 Filed 11/22/21 Page 1 of 1 Page ID #:946



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 8                       UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10

11    SERGIO L.,                            Case No. 5:20-cv-00666-AFM
12                      Plaintiff,
                                            JUDGMENT
13
            v.
14
     KILOLO KIJAKAZI, Acting
15   Commissioner of Social Security,
16
                        Defendant.
17

18         In accordance with the Memorandum Opinion and Order Affirming Decision
19   of Commissioner filed concurrently herewith,
20         IT IS ORDERED AND ADJUDGED that the Commissioner’s decision is
21   AFFIRMED.
22

23   DATED: 11/22/2021
24
                                          ____________________________________
25
                                               ALEXANDER F. MacKINNON
26                                        UNITED STATES MAGISTRATE JUDGE
27

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